   

Case 2:10-cv-14360-DPH-MKM ECF No. 369 filed 10/25/19 PagelD.19025 Page 1 of oy /

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The United States District Court essen OCT 25 2013
For The Eastern District of Michigan us district COURT
Southern Division

U.S. Courthouse

231 W. Lafayette Blvd.

Detroit, Michigan 48226

The Shane Group, Inc.et al, Case No. 2:10-cv-14360-DPH-MKM
Plaintiffs, Judge Denise Page Hood

v. Blue Cross Blue Shield of Michigan,

Defendant .

NOTICE OF APPEAL BY OBJECTOR CHRISTOPHER ANDREWS

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This is the second good faith appeal which will reverse this approval once again.
Notice is hereby given that Class Member/Objector Christopher Andrews appeals to
the United States Court of Appeals for the Sixth Circuit from Doc 364, ORDER
GRANTING MOTION FOR FINAL APPROVAL OF SETTLEMENT AND PLAN
ALLOCATION; GRANTING CLASS COUNSEL’S MOTION FOR AWARD OF
ATTORNEYS’ FEES, REIMBURSEMENT OF EXPENSES, AND PAYMENT OF
INCENTIVE AWARDS TO CLASS REPRESENTATIVES; AND GRANTING IN
PART AND DENYING IN PART THE VARNUM GROUPS’ MOTION FOR
ATTORNEY FEES AND COSTS, Doc 365, ORDER APPROVING SETTLEMENT
and Doc 365 FINAL JUDGMENT all entered on September 30, 2019 including any
other orders and opinions that merge therein including any order requiring an appeal

bond, subsequent to this notice of appeal.

Here are some of the issues and errors that separately and or combined cause this
approval to be manifest error and abuse of discretion that were raised but not addressed

in the approval decision;

1. The parties and the court failed to address the most important issue the objector
raised extensively in his objection and at the fairness hearing. That is the lack of
standing under Article II] and subject matter jurisdiction which the court is supposed to

address before the deciding the merits.

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Subject matter jurisdiction is so fundamental that a court can (indeed a court must) rule
on the matter sua sponte, without any motions by a party. Fed. R. Civ. P. 12(h)(3). “At
the pleading stage, general factual allegations of injury resulting from the defendant’s
conduct may suffice,” but as the case progresses, if standing is “controverted,”
standing must be supported by evidence. Lujan, 504 U.S. at 561. A court is powerless
to approve a proposed class settlement if it lacks jurisdiction over the dispute, and
federal courts lack jurisdiction if no named plaintiff has standing. Simon v. Eastern Ky.
Welfare Rights Organization, 426 U.S. 26, 40, n. 20 (1976). “Our determination of
standing is both plaintiff- and provision-specific. That one plaintiff has standing to
assert a particular claim does not mean that all of them do.” Fednav, Ltd. v. Chester,
547 F.3d 607, 614 (6th Cir. 2008); see also Pagan v. Calderon, 448 F.3d 16, 26 (Ist
Cir. 2006) Both of these decisions cited language in the Supreme Court’s decision in

Allen v. Wright , 468 U.S. 737 (1984), as rejecting the one-plaintiff rule.

The appellant raised standing extensively in his objection and at the fairness hearing
which the parties and court chose to intentionally ignore then the court illegally
approved the settlement. Currently none of the named plaintiffs have Article III
standing; the lawyers have no client to represent, they even lack standing to file a
response to the appellant’s brief, the court’s approval is clearly illegal. The Supreme

Court clarified in Frank v. Gaos that if class action plaintiffs have no standing to sue in

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the first instance, there is no mechanism for settling the case. This threshold question

must be answered before plaintiffs can extract a settlement from defendants.
The following is from a recent decision in the 6" Circuit addressing standing.

Nos. 18-3847/3866 Chapman, et al. v. Tristar Prods., Inc. decided on 10-10-19 Page 4

and 5 No. I

“Before we may address Arizona’s substantive arguments, we must determine whether
Arizona has standing. We begin with first principles. Our federal Constitution creates a
republican government of three co-equal branches, each of which possesses only
limited power. The judicial power is particularly limited to cases and controversies
before the Supreme Court and such inferior courts as Congress may create. U.S. Const.
art. III, §§ 1-2. This jurisdictional limitation requires, among other things, that a party
wishing to litigate a dispute before a federal court demonstrate standing. See Lujan v.
Defs. of Wildlife, 504 U.S. 555, 559-60 (1992) (explaining that “the core component
of standing is an essential and unchanging part of the case-or-controversy requirement
of Article II”). The standing requirement prevents federal courts from issuing advisory
opinions. “Article III of the U.S. Constitution does not authorize federal courts to
decide theoretical questions.” Hegy v. Demers & Adams, 882 F.3d 616, 620 (6th Cir.
2018). The prohibition on advisory opinions, in turn, is an important element in the

separation of lawful powers between the governmental branches of our republic.

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“When the federal judicial power is invoked to pass upon the validity of actions by the
Legislative and Executive Branches of the Government, the rule against advisory
opinions implements the separation of powers prescribed by the Constitution and
confines federal courts to the role assigned them by Article III.” Flast v. Cohen, 392
US. 83, 96 (1968).Although Congress may by statute define the jurisdiction of the
federal courts, our jurisdiction can never extend beyond the outer limits set by Article
III. “[B]y the express terms of the Constitution, the exercise of the judicial power is
limited to ‘cases’ and ‘controversies.’ Beyond this it does not extend, and unless it is
asserted in a case or controversy within the meaning of the Constitution, the power to
exercise it is nowhere conferred.” Muskrat v. United States, 219 U.S. 346, 356 (1911).
The Article III limit on our jurisdiction is important because, if we were to render an
advisory opinion, it would be a constitutional violation that is un-redressable.
Accordingly, we are required in every case to determine—sua sponte if the parties do
not raise the issue—whether we are authorized by Article III to adjudicate the dispute.
See Henderson ex rel. Henderson v. Shinseki, 562 U.S. 428, 434 (2011) (“{F]ederal
courts have an independent obligation to ensure that they do not exceed the scope of
their jurisdiction, and therefore they must raise and decide jurisdictional questions that
the parties either overlook or elect not to press.”). We may not decide the merits of a
claim for relief unless some party pressing the claim has standing to bring it. See Town

of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650-51 (2017).”

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The following from another 6" Circuit case:

“Federal courts are courts of limited jurisdiction.” Kokkonen v. Guardian Life Ins. Co.
of Am., 511 U.S. 375, 377 (1994). The district courts “have original jurisdiction of all
civil actions arising under the Constitution, laws, or treaties of the United States.” 28
U.S.C. § 1331. Although no one has specifically addressed subject matter jurisdiction
to this point, we have an independent obligation to consider it and may do so sua
sponte. Answers in Genesis of Kentucky, Inc. v. Creation Ministries Int’1, Ltd. , 556
F.3d 459, 465 (6th Cir. 2009); see also United States v. Cotton , 535 U.S. 625, 630
(2002) (Subject matter jurisdiction “can never be forfeited or waived.”). We must
correct any defect in subject matter jurisdiction regardless of whether the district court
considered it, Cotton, 535 U.S. at 630, even if “many months of work on the part of the
attorneys and the court may be wasted,” Henderson ex rel. Henderson v. Shinseki , 562
U.S. 428, 435 (2011); see also Hampton v. R.J. Corman R.R. Switching Co., 683 F.3d
708, 711-12 (6th Cir. 2012) (vacating district court’s grant of summary judgment after
determining that Federal Railroad Safety Act did not create a private cause of action).
Subject matter jurisdiction is so fundamental that a court can (indeed a court must) rule
on the matter sua sponte, without any motions by a party. Fed. R. Civ. P.

12(h)(3)...... eee eee eee ( in the dissent, conclusion).

The above from ESTATE OF ROBERT CORNELL v. BAYVIEW LOAN
SERVICING,LLC; THIEN HOANG TRAN, 6" Circuit, No. 18-1245 issued
November 13, 2018.

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Because the district court’s act in approving this class settlement was a court judgment,
it erred when it did not first assess standing violating Sixth Circuit and Supreme Court
precedent. The settlement should be reversed, and/or the entire case decertified or
dismissed with prejudice since there never was a “live case or controversy” from the
get go but the parties still ignored that fact to artificially generate fees for themselves.
The plaintiffs won’t address the issues in this notice of appeal with me even though
they were sent a copy of this notice to respond to a while ago so this notice of appeal

had to be filed.

Even if the court had jurisdiction (which it doesn’t) the court also failed to address and
or correct the issues the objector and the Sixth Circuit raised below, excluding the

sealed records issue, which he replaced with the standing issue. Those issues are;

2. Lack of documentation of the bounty awards and explanation;

“The court’ s approval of so-called “incentive awards” for the named
plaintiffs raises similar concerns.” Page 3 of the reversal.

“To ensure that these amounts are not in fact a bounty, however, counsel must
provide the district court with specific documentation-in the manner of
attorney time sheets-of the time actually spent on the case by each recipient
of an award. Otherwise the district court has no basis for knowing whether the
awards are in fact “a disincentive for the [named] class members to care about
the adequacy of relief afforded unnamed class members[.]” Dry Max, 724 F.3d
at 722 (emphasis in original).” Page 3 of the reversal.

This issue was ignored in the approval; the bounty sold the class out. Non injured
class members including named plaintiffs cannot receive damages or service

awards which violates Sixth Circuit and Supreme Court law.

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3. The overpayment of lawyer fees and expenses that sold the class out;

“Next, in approving class counsel’s fee request of approximately $10 million, the district court
erred in relying in part on the higher amount calculated by means of the “lodestar method.” See
page 2 of appeal reversal.

“Moreover, class counsel provided no backup whatsoever—no time records, no

descriptions of work done—in support of their hours spent working on the case. Instead, class
counsel provided the district court with a single page of documentation for each firm, listing only
the employee names, titles, rates, hours, and—by multiplying the rates and hours—the total
lodestar for that firm. The documentation of fees in this case should have only heightened the
district court’s concerns about whether the settlement is fair to unnamed members of the class.”
Page 3 of the reversal.

The court still has not correctly addressed and fixed this issue above. The fee request
reduction was the result of class counsel being forced to pay for part of the old notice
and all of the new notice due to their errors which was demanded by this objector. The
court failed to address or explain this objector’s and the Sixth Circuit’s concerns
regarding the usurious hourly rates and fake hours claimed by the lawyers. The court
should have substantially reduced usurious fee first and then subtracted out the $1.4
million notice reduction amount. The result is the lawyers have again been overpaid by
millions along with being vastly overpaid in expenses without any time sheets, receipts

or explanation; both issues are clear reversible errors then and now.

4. Material errors in the PAO and Amended Agreement that make it so ambiguous to

the point of the document being defective and unenforceable that were not addressed.

5. Failure of Notice Program. The court failed to address this issue also. Class counsel
failed to show how they could or did feasibly identify the entire 7 million class

members to notice all of them. Since most of the class was unable to be noticed and

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could not participate in this lawsuit settlement process they could not opt out violating
due process under the Constitution. The pitiful 1.2% claims take rate or 84,000 claims
filed out of 7 million class members is proof of the failure of the notice program and

that is cause for reversal. The notice and claims issue violates Rule 23, Supreme Court

precedent.
6. The BCBSM backed cy pres recipient.

This issue was intentionally ignored in the approval. BCBSM is receiving a de facto
kickback from the cy pres entity that they heavily back and contribute to yearly. The cy
pres donation reduces the amount BCBSM contributes to them the following year
which rewards BCBSM for fraud by saving them money. There are other issues.

Summary

The “deal” is still not fair, reasonable and adequate under 23(e) because of the myriad
of material issues above that benefits everyone but the unnamed class. The named
plaintiffs, class counsel, Blue Cross Blue Shield of Michigan and the notice entity
violated the rights of the 7 million member class via due process violations, bad faith,
misconduct, violations of various sections of Rule 23, 6" Circuit and Supreme Court
precedent in this collusional divide and conquer settlement against the unnamed class.
The court’s manifest errors cannot be allowed to go unchecked. There is no reason to

cover-up the truth by redacting anything in the fairness hearing transcript.

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The court could not help but be more welcoming of class counsel’s and the defendant’s
misleading error strewn filings and intentional omissions that confirm its biases than
the facts pointed out by this objector that challenges and overcomes them.

I hereby certify under penalty of perjury that all of the above is true and accurate to the

Christopher Andrews, Pro se objector P.O. Box 530394 va MI 48153-0394

T. 248-635-3810 E. caaloa@gmail.com Dated 10- bhoos

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Case 2:10-cv-14360-DPH-MKM ECF No. 369 filed 10/25/19 PagelD.19035 Page 11 of 21

Certificate of Service

I hereby certify under penalty of perjury that on this day October 24, 2019 I mailed
two copies of this document (one is a chamber’s copy) along with two copies of a
Motion to Proceed in forma pauperis with two copies of a Form 4 (Form 4 is filed
under seal which by the way is not printable on the “forms” section of your website) to
the Clerk of the Court via Priority Mail to the address on page one and copies were
sent to class counsel via first class mail to the address below. The objector currently
has in forma pauperis status at the Northern District of California last granted on 9-12-

19 and at the 9" Circuit. See Exhibits 1, 2, and 3.

 
 

istopher Andrews, Pro se objector, P.O. Box 530394 Livonia, MI 48153-0394

T. 248-635-3810 E. caaloa@gmail.com / ¢/s-+// J

Attention; Daniel Hedlund Gustafson Gluek Pllc Canadian Pacific Plaza 120 South

Sixth Street, Suite 2600 Minneapolis, MN 55402

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Exhibit 1

 
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4 UNITED STATES DISTRICT COURT
5 NORTHERN DISTRICT OF CALIFORNIA
6
7 os Case No.13-md-02420-YGR
IN RE: LITHIUM ION BATTERIES ANTITRUST
8 LITIGATION ORDER GRANTING MOTION OF OBJECTOR
CHRISTOPHER ANDREWS TO PROCEED IN
9 FORMA PAUPERIS ON APPEAL
9 This Order Relates to: Re: Dit. No. 2528
iy The Indirect Purchaser Plaintiffs
(2
3 Good cause appearing, pursuant to 28 U.S.C. § 1915(a), the request of Objector

14 || Christopher Andrews to proceed in forma pauperis on appeal (Dkt No. 2528) is hereby GRANTED.

 

5 IT Is SO ORDERED.

18 Dated: September 12, 2019 a
7 Fete GONZALEZ ROGERS”
8 United States District Judge

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

KEVIN YOUNG, et al., Case No.: 13-md-02420-YGR (PJH)

Plaintiffs,
CERTIFICATE OF SERVICE

Vv.

SAMSUNG SDI AMERICA INC, et al.,

Defendants. |

 

I, the undersigned, hereby certify that:

(1) Lam an employee in the Office of the Clerk, U.S. District Court, Norther District of
California; and

(2) On 9/12/2019, I SERVED a true and correct copy(ies) of the attached, by placing said
copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by
depositing said envelope in the U.S. Mail, or by placing said copy(ies) into an
interoffice delivery receptacle located in the Clerk’s office.

Christopher Andrews
P.O. Box 530394
Livonia, MI 48153

Dated: 9/12/2019

Susan Y. Soong
Clerk, United States District Court

Kelly Collins, Deputy Clerk to
the Honorable Phyllis J. Hamilton

Service Ceraticate CRO
rev. August 2018

 

 

 
 

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Exhibit 2
Case 2:10-cv-14360-DPH-MKM ECF No. 369 filed 10/25/19 PagelD.19040 Page 16 of 21

UNITED STATES COURT OF APPEALS F | L E D

FOR THE NINTH CIRCUIT AUG 23 2018

MOLLY C. DWYER, CLERK
U.S. COURT OF APPEALS

 

MATTHEW EDWARDS; et al., No. 17-16459

Plaintiffs-Appellees, D.C. Nos. 4:1 1-cv-04766-JSW
4:1] 1-cv-04791-JSW
4:1 1-cv-05253-JSW
Northern District of California,
CHRISTOPHER ANDREWS, Oakiand

Objector-Appellant, ORDER
Vv.
NATIONAL MILK PRODUCERS
“EDERATION, AKA Cooperatives

Working Together; et al.,

Defendants-Appellees.

 

 

efore: FARRIS, BYBEE, and N.R. SMITH, Circuit Judges.

The response to the October 6, 2017 order demonstrates that this appeal
volves non-frivolous issues. The order to show cause is therefore discharged,
and appellant’s motion to proceed in forma pauperis (Docket Entry No. 4) is oe
ranted. See 28 U.S.C. § 1915(a). The Clerk shall amend the docket to reflect
-ppellant’s in forma pauperis status.

The motion for summary affirmance of the district court’s judgment (Docket

“ntry No. 7) is denied because the issues raised in the appeal are sufficiently

_ubstantial to warrant further consideration by a merits panel. See 9th Cir. R. 3-6;
Case 2:10-cv-14360-DPH-MKM ECF No. 369 filed 10/25/19 PagelD.19041 Page 17 of 21

United States v. Hooton, 693 F.2d 857, 858 (9th Cir. 1982) (stating standard).
The opening brief is due October 1, 2018; the answering brief is due
November |, 2018; and the optional reply brief is due within 21 days after service

of the answering brief.
Because appellant is not represented by counsel, appellant does not need to

submit excerpts of record for this appeal. See 9th Cir. R. 30-1.2. Appellees’

 

Supplemental EXCerpls OL record snouid include only the Gistrict COUrt dOcKet

~eport, the notice of appeal, the yudgment or order appealed from, and any specific

sortions of the record cited in the answering brief. See 9th Cir. R. 30-17.

17-16459

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Case 2:10-cv-14360-DPH-MKM ECF No. 369 filed 10/25/19 PagelD.19042 Page 18 of 21

Exhibit 3

 
Case 2:10-cv-14360-DPH-MKM ECF No. 369 filed 10/25/19 PagelD.19043 Page 19 of 21

UNITED STATES COURT OF APPEALS F | L E D

FOR THE NINTH CIRCUIT DEC 1 2017

MOLLY C. DWYER, CLERK
U.S. COURT OF APPEALS

 

"an re: LITHIUM ION BATTERIES No.  17-17369
ANTITRUST LITIGATION.
D.C. No. 4:13-md-02420-YGR
Ween near nen nena Northern District of California,
Oakland

/NDIRECT PURCHASER PLAINTIFES,
ORDER
Plaintiff-Appelice,

“HRISTOPHER ANDREWS,
Objector-Appellant,
?ANASONIC CORPORATION; et al.,

Defendants-Appellees.

 

 

A review of the district court docket reflects that on April 21, 2017, the
‘istrict court granted appellant Christopher Andrews leave to proceed in forma
sauperis and that such permission has not been revoked. Accordingly, appellant's
') forma pauperis status continues in this court. See Fed. R. App. P. 24(a)(3).
\ppellant’s motion to proceed in forma pauperis on appeal (Docket Entry No. 2) 1s

_jerefore unnecessary.

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a EN
Case 2:10-cv-14360-DPH-MKM ECF No. 369 filed 10/25/19 PagelD.19044 Page 20 of 21

 

The previously established briefing schedule remains in effect.
FOR THE COURT:

MOLLY C. DWYER
CLERK OF COURT

By: Lior A. Brinn
Deputy Clerk
Ninth Circuit Rule 27-7

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